               IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF TENNESSEE
________________________________________________________________________

TIMOTHY OAKLEY and
MONICA OAKLEY,

               PLAINTIFFS,

Vs.                                                        No. 3:10-cv-0931
                                                           JURY DEMANDED

ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY,

            DEFENDANT.
________________________________________________________________________

            CONSENT ORDER OF DISMISSAL WITH PREJUDICE
________________________________________________________________________

       It appearing to the satisfaction of the Court, that all things and matters in

controversy between Timothy Oakley and Monica Oakley and Allstate Property and

Casualty Insurance Company, have been fully settled and compromised, as evidenced by

the signatures hereto of counsel for the respective parties, and that the Plaintiff’s case

against Defendant should be dismissed with prejudice, and the Defendant’s Counter-

Complaint should be dismissed with prejudice, with each party to pay their own

attorney’s fees and bear their own discretionary costs.

       IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED as follows:

       1.      The Plaintiff’s cause of action against the Defendant is hereby dismissed

               with prejudice.

       2.      The Defendant’s Counter-Complaint is hereby dismissed with prejudice.

       3.      Each party shall pay their own attorney’s fees and bear their own

               discretionary costs.




Case 3:10-cv-00931 Document 34 Filed 09/08/11 Page 1 of 2 PageID #: 191
                                   _______________________________
                                   JUDGE

                                   _______________________________
                                   DATE


APPROVED FOR ENTRY:



s/ Mike Breen
Mike Breen
Attorney for Plaintiffs
870 Fairview Avenue, Suite 5
P.O. Box 3310
Bowling Green, KY 42101-3310



s/ Zale Dowlen
Zale Dowlen
Attorney for Plaintiffs
108 Lauren Drive
White House, TN 37188



s/ David M. Waldrop
David M. Waldrop (#13079)
Attorney for Defendant
9032 Stone Walk Place
Germantown, TN 38138
 (901) 759-3489




Case 3:10-cv-00931 Document 34 Filed 09/08/11 Page 2 of 2 PageID #: 192
